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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA :

            v.                 : Crim. No 21-407(DLF)

Daryl Johnson                  :

            Defendant          :


                        ENTRY OF APPEARANCE


      Please enter my appearance as appointed counsel for the above named

Defendant nunc pro tunc to July 12, 2021



                                      _______________/s/_____________
                                      Thomas Abbenante #227934
                                      888 17th Street NW
                                      Suite 1200
                                      Washington, DC 20006
                                      202-223-6539
                                      Fax: 202-223-6625
                                      tabbenante@aol.com
